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                                                      2 of 3
                                                                                                      Form B2500A (12/15)
                                   UNITED STATES BANKRUPTCY COURT
                                            District of Nebraska

In Re: Gordmans Stores, Inc.
Debtor(s)
                                                           Bankruptcy Proceedings No. 17−80304−TLS
                                                           Adversary Proceedings No. 18−08062−TLS

                                                           Chapter 11
META Advisors LLC on behalf of G−Estate Management
Company, Inc. (f/k/a Gordmans Management Company,
Inc.)
Plaintiff(s)

v.

Grandview Gallery, LLC
Defendant(s)


                            SUMMONS IN AN ADVERSARY PROCEEDING
YOU ARE SUMMONED and required to file a motion or answer to the complaint which is attached to this summons
with the clerk of the bankruptcy court within 30 days after the date of issuance of this summons, except that the
United States and its offices and agencies shall file a motion or answer to the complaint within 35 days.

Address of the clerk:

                                          United States Bankruptcy Court
                                                111 South 18th Plaza
                                                     Suite 1125
                                                 Omaha, NE 68102
At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.
Name and address of plaintiff's attorney:

                                                 Douglas L. Lutz
                                              Frost Brown Todd LLC
                                            3300 Great American Tower
                                                 301 E. Fourth St.
                                               Cincinnati, OH 45202

If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.

IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY
DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.



                                                           /s/ Diane Zech
                                                           Clerk, U.S. Bankruptcy Court


                                                           By: Nicki Wenzl
                                                           Deputy Clerk


(Seal of the U.S. Bankruptcy Court)

Date of Issuance: 9/19/18
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                                                                                                            18−08062−TLS
                                        CERTIFICATE OF SERVICE*
   I,     Douglas L. Lutz, Esq.                   (name), certify that service of this summons and a copy of the
complaint was made September 20, 2018               (date) by:

 X    Mail service: Regular, first class United States mail, postage fully pre−paid, addressed to:

                 SEE ATTACHED SERVICE LIST


      Personal Service: By leaving the process with the defendant or with an officer or agent of defendant at:




      Residence Service: By leaving the process with the following adult at:




      Certified Mail Service on an Insured Depository Institution: By sending the process by certified mail addressed
      to the following officer of the defendant at:




      Publication: The defendant was served as follows: [Describe briefly]




      State Law: The defendant was served pursuant to the laws of the State of                  , as follows: [Describe
      briefly]




   If service was made by personal service, by residence service, or pursuant to state law, I further certify that I am,
and at all times during the service of process was, not less than 18 years of age and not a party to the matter
concerning which service of process was made.

     Under penalty of perjury, I declare that the foregoing is true and correct.


Date:    09/20/2018                        Signature         /s/ Douglas L. Lutz



        Print Name:                                 Douglas L. Lutz

                                                    Frost Brown Todd LLC
                                                    3300 Great American Tower
        Business Address:
                                                    301 E. Fourth Street
                                                    Cincinnati, OH 45202
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                                     SERVICE LIST


Certified Mail on Registered Agent
CT Corporation System
300 Montvue Rd.
Knoxville, TN 37919-5546 USA

First Class Mail
Grandview Gallery, LLC
Attn: Angela Cook (Member)
5185 Hickory Hill Rd.
Memphis, TN 38141-8209
